                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )        No. 3:15-cr-00088
                                             )        CHIEF JUDGE CRENSHAW
[1] REGINALD JOHNSON, III                    )
[2] AWEIS HAJI-MOHAMED                       )
[3] MARQUIS BRANDON                          )
[6] SANTEZ BRADFORD                          )

                                            ORDER

       For the reasons set forth in the accompanying Memorandum, the Court rules as follows:

       (1)   Defendant Marquis Brandon’s Motion to Strike (Doc. No. 196) is GRANTED IN

PART and DENIED IN PART. The Motion is GRANTED with respect to the allegations

surrounding the murder of Isaiah Starks. The phrase “which [2] AWEIS HAJI-MOHAMED a/k/a

SON SON, aided and abetted by [l] REGINALD JOHNSON, III, a/k/a CHEEFA, and [3]MARQUIS

BRANDON a/k/a DUMMY, used to shoot and kill Isaiah Starks a/k/a Blue on or about February

9, 2015” is hereby STRICKEN from Count Thirteen. With that language stricken, Count Thirteen

reads as follows:

               Between on or about January 22, 2015 and on or about September 11,
               2015, in the Middle District of Tennessee, [l] REGINALD
               JOHNSON, III, a/k/a CHEEFA, [2] AWEIS HAJI-MOHAMED a/k/a
               SON SON, and [3] MARQUIS BRANDON a/k/a DUMMY, each
               having previously been convicted in any court of a crime punishable
               by imprisonment for a term exceeding one year, did knowingly
               possess, in and affecting commerce, a firearm, to wit: a Springfield
               XD, .40 caliber semi-automatic pistol, which [1] REGINALD
               JOHNSON, III, a/k/a CHEEFA and [3] MARQUIS BRANDON a/k/a
               DUMMY used around the end of February, 2015 to regain possession
               of a Glock, Model 23, .40 caliber semi-automatic pistol that [1]
               REGINALD JOHNSON, III, a/k/a CHEEFA had previously sold to
               another person.

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              In violation of Title 18, United States Code, Sections 922(g)(1), 924,
              and 2.

In all other respects, the Motion to Strike is DENIED.

       (2) The Motions to Join (Doc. Nos. 207, 212 & 230) filed by Defendants Aweis Haji-

Mohamed, Reginald Johnson, III, and Santez Bradford are hereby GRANTED, and the same rulings

as to Defendant Brandon’s Motion to Strike apply to these Motions.

       IT IS SO ORDERED.



                                             __________________________________________
                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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